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               UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF MICHIGAN
                    SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                  Plaintiff,               CRIMINAL NO. 12-20052

 v.                                        HON. STEPHEN J. MURPHY III

 D-4 KENNETH ROBERT DANIELS,

                  Defendant.
                                           /

          GOVERNMENT=S SENTENCING MEMORANDUM

       The United States of America, by its attorneys, Barbara L.

 McQuade, United States Attorney, and Louis P. Gabel, Assistant United

 States Attorney, recommends that the Court impose a sentence of

 imprisonment of 16 months.      A sentence at the top of the guideline

 range is warranted because Defendant’s criminal conduct supported a

 large-scale drug operation and helped conceal its activities from law

 enforcement.




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    I.     FACTUAL BACKGROUND

           a. Offense Conduct

         Daniels had extensive financial dealings with co-defendant Carlos

 Powell.    As part of his relationship with Powell, Daniels agreed to

 structure financial transactions for Powell so that Powell’s finances

 would not be scrutinized and his criminal conduct would be less likely to

 be detected.    Specifically, the evidence at trial established that Daniels

 took $19,000 from Carlos Powell, broke that into two smaller amounts,

 and went to two separate banks to obtain cashier checks in an attempt

 to evade reporting requirements.

         During interviews with law enforcement, Daniels was first asked

 about the September 24, 2010 cashier’s check from TCF Bank in the

 amount of $10,000.     Daniels initially denied that he knew the purpose

 of the check, but then later admitted that he knew it was used by Carlos

 Powell to purchase a Mercedes.      Daniels also misled the agents by

 telling them that Carlos Powell gave him just $6,000 and that Daniels

 provided $4,000 of cash that he had on hand from recent casino winnings

 at Greektown Casino in Detroit, Michigan.       Casino records, however,

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 showed no such winnings by Daniels.

       In addition, Daniels was asked about a second September 24, 2010

 cashier’s check for $9,000 from a second bank—Fifth Third Bank.        After

 being shown this check, Daniels admitted that Powell had instructed

 him to get two different checks from two different banks.     Daniels, who

 previous served as the Vice Chairman of the Insurance and Financial

 Services Committee while in the Michigan State Legislature, admitted

 that he was acting on behalf of Carlos Powell and that he split the larger

 amount into two smaller amounts so that the banks would not file

 reports that they were required to make.     Had Daniels not taken these

 actions, Carlos Powell would have been required to obtain the cashier

 checks himself and, thus, a CTR would have been filed in connection

 with Carlos Powell.

          b. Other Relevant Conduct

                i. Financial Dealings with Carlos Powell

       In addition to the structured transactions on September 24, 2010,

 Daniels conducted numerous additional suspicious transactions with

 Carlos Powell.   Bank records show Daniels received thousands of

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 dollars from a company called International Outdoor LLC.        Shortly

 after he received the funds, Daniels quickly transferred the majority of

 those funds to Carlos Powell or companies controlled by Powell.      For

 instance, Daniels deposited $15,000 checks in the bank account for

 Kandico Enterprises, LLC (“Kandico”)—a company owned and

 controlled by Daniels—on April 21 and April 26, 2010.      On April 26,

 2010, Daniels issued a check to Carlos Powell and Goal-Line LLC—a

 shell company owned by Powell—for $12,750.        Aside from the two

 $15,000 deposits, the check issued to Carlos Powell was the only

 transaction that occurred in the Kandico account during the month of

 April.   About one week later, On May 4, 2010, Daniels issued another

 $12,750 check to Powell and Goal-Line LLC.       There were additional

 transactions in Daniels’ account similar to these transactions, including

 multiple instances in which Daniels would receive $20,000 in his

 account only to quickly withdraw the money to issue a check to Carlos

 Powell for $17,000.

       During interviews with investigators, Daniels’ stated that the

 deposits into his account were for legitimate work that he did in scouting

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 locations for billboards in the city of Detroit.   Daniels explained the

 money cycling into his account and immediately back out to Carlos

 Powell by stating that he subcontracted the work to Powell, who scouted

 locations and took measurements and photographs of potential billboard

 sites.    Given the fact that Carlos Powell was involved in extensive drug

 trafficking that generated millions of dollars, this is a dubious

 explanation.1     Instead, it is more likely that Daniels was assisting

 Powell launder some of his drug money.

                 ii. Bribery of a City of Detroit Official

          In 2004, while Daniels was serving as a State Representative for

 Detroit, he also operated private copier and radio companies.       Daniels

 paid a $3,000 cash bribe to a high-ranking city official in the Kwame

 Kilpatrick administration in hopes that it would help his companies gain

 a contract with the City of Detroit. He also paid a couple hundred

 dollars to the official at a nightclub, and would agree to provide suites or



 1 In his Presentence Investigation Report, Carlos Powell does not
 mention any business relationship with or subcontracting work
 performed for Kenneth Daniels or Kandico. This omission further
 supports the view that Daniels was engaged in laundering drug proceeds
 for Carlos Powell.
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 event tickets for the city official when requested. This was all done to

 curry favor with the official in hopes of earning government contracts.

    II.     SENTENCING GUIDELINE CALCULATIONS AND
            § 3553(a) FACTORS

          In determining an appropriate sentence, district courts are to

 consider the factors set forth in 18 U.S.C. ' 3553(a).    See United States

 v. Booker, 543 U.S. 220, 264 (2005).       AThe Guidelines should be the

 starting point and the initial benchmark in determining a sentence and

 a district court should begin all sentencing proceedings by correctly

 calculating the applicable Guidelines range.@       United States v. Lalonde,

 509 F.3d 750, 763 (6th Cir. 2007) (quoting Gall v. United States, 128

 S.Ct. 586, 601 (2007) (internal quotations omitted)).

          In determining the appropriate sentence, the Court should not

 simply rely on the Guidelines calculations, but should consider all of the

 factors in the Sentencing Reform Act and, in particular, those set forth

 in 18 U.S.C. ' 3553(a).     These factors include: (1) the nature and

 circumstances of the offense and the history and characteristics of the

 defendant; (2) the need for the sentence imposed B (A) to reflect the

 seriousness of the offense, to promote respect for the law, and to provide
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 just punishment for the offense; (B) to afford adequate deterrence to

 criminal conduct; (C) to protect the public from further crimes of the

 defendant; and (D) to provide the defendant with needed educational or

 vocational training, medical care, or other correctional treatment in the

 most effective manner; . . . (6) the need to avoid unwarranted sentence

 disparities among defendants with similar records who have been found

 guilty; and (7) the need to provide restitution to any victims of the

 offense.

    A. Sentencing Guidelines

       The Probation Department correctly calculated the guideline range

 as 10-16 months.    Given Daniels involvement in facilitating the

 movement and use of Carlos Powell’s drug proceeds, a sentence at the

 top of this range is appropriate.

    B. Sentencing Reform Act Factors

       1.    The Seriousness of the Offense

       Daniels was convicted of the crime of “structuring,” which, on its

 face, could be characterized as a relatively minor financial crime.     In

 this case, however, Daniels’ structuring supported a large-scale drug

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 trafficking organization that pushed heroin, cocaine, and marijuana

 onto the streets of metro-Detroit.   Daniels helped ensure that reports

 on Carlos Powell’s financial affairs were not filed, and thus Powell’s

 criminal conduct was less likely to draw the scrutiny of law enforcement.

 Daniels, a former state legislator and Vice Chairman of the Insurance

 and Financial Services Committee, understood the importance of the

 banks’ reporting requirements to law enforcement.       Given this context,

 Daniels structuring was a serious crime justifying a substantial

 sentence of imprisonment.

       2.    History and Characteristics of the Defendant

       Daniels criminal behavior extended beyond a single instance of

 structuring.   In fact, before Daniels became involved with Carlos

 Powell, he paid bribes to an official from the city of Detroit in an attempt

 to win business for his copier and radio businesses.    Once he became

 acquainted with Powell, Daniels engaged in a series of suspect financial

 transactions with Powell, including the churning thousands of dollars

 through his account and then back to Carlos Powell.




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       3.    Respect for the Law and Deterrence

       Defendant’s past behavior shows that, when he stands to make

 money, he is willing to break the law—either through bribery, money

 laundering, or structuring.   In such cases, a sentence of imprisonment

 can impress upon Defendant that there are consequences for blindly

 following his greed.

       Additionally, in prosecutions for financial crimes, the sentence

 imposed is important to promote respect for the law and to deter the

 general public from committing similar future crimes.         General

 deterrence is a particularly important consideration in this case, which

 has received wide public attention.       If Daniels is given a lenient

 sentence, it will send a message that people can help drug dealers hide

 or launder their drug proceeds with little fear of severe punishment.

       The Sixth Circuit recently emphasized, even outside the context of

 a wider drug investigation, the important role that prison sentences

 have in deterring financial crime in United States v. Musgrave, -- F.3d --,

 2014 WL 3746811 (6th Cir. July 31, 2014).         It recognized that

 A[b]ecause economic … crimes are more rational, cool, and calculated

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 than sudden crimes of passion or opportunity, these crimes are prime

 candidates for general deterrence.@    Id. at *5 (internal quotation marks

 and citations omitted).   With this in mind, and given the fact that

 Daniels’ crime supported a significant drug organization, a sentence of

 imprisonment at the top of the guideline range.

       4.     Need to Avoid Unwarranted Sentence Disparities

       An important sentencing consideration is the need to avoid

 unwarranted sentencing disparities amongst similarly-situated

 offenders.   While the sentencing guidelines are often criticized by the

 defense bar, they provide a general gauge for the length of sentences

 that other offenders with similar criminal backgrounds are receiving

 across the country.    See United States v. Wimbley, No. 08-5787, 2009

 WL 3296504, at *4 (6th Cir. Oct. 15, 2009) (AAs one of the baselines for

 reasonableness review and relative uniformity in sentencing, see United

 States v. Kirchhof, 505 F.3d 409, 416 (6th Cir. 2007), the guidelines are

 designed to avoid unwarranted disparities—which means that whatever

 else may be wrong with a within-guidelines sentence, it is not likely to

 be an unwarranted disparity.@).     Defendant can provide no reason for

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 the Court to deviate below the guideline range.     If anything, the

 guideline range understates the seriousness of Defendant’s crime

 because it does not account for the fact that he was structuring deposits

 to support the leader of a massive drug operation.

                               CONCLUSION

       For all of the above reasons, the government respectfully

 recommends that the Court impose a sentence of imprisonment of

 16 months.



                                           Respectfully submitted,

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 Date: September 9, 2014



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                     CERTIFICATION OF SERVICE

       I hereby certify that on September 12, 2014, I electronically filed

 the foregoing paper with the Clerk of the Court using the ECF system

 which will send notification of such filing to all counsel of record.


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